Case 3:17-cv-00072-NKM-JCH Document 158 Filed 12/18/17 Pagelof1 Pageid#: 699
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff

ys. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant
AFFIDAVIT OF SERVICE

I, Abel Emiru, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs’
Jury Demand in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this matter.

 

 

That on 12/14/2017 at 12:26:00, I served Richard Spencer with the Summons, Civil Cover Sheet with Addendum, Complaint, and
Plaintiffs’ Jury Demand at 1001-A King Street, Alexandria, Virginia 22314, by serving Richard Spencer, personally.

Richard Spencer is described herein as:

Gender: Male Race/Skin: White Age: 39 Weight: 165 Height: 5'11" Hair: Blonde Glasses: No

I do'solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

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Executed On 3 [a] Abel Emiru

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Client Ref Number:
Job #: 1537513

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